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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

CHARLES FICHER                                       CIVIL ACTION
VERSUS                                               NO: 05-6373
BURL CAIN                                            SECTION: "N"(5)

                          REPORT AND RECOMMENDATION

         This matter was referred to the United States Magistrate

Judge for the purpose of conducting hearings, including an

evidentiary hearing, if necessary, and submission of proposed

findings and recommendations for disposition pursuant to 28

U.S.C. §636(b)(1)(B) and (C), and as applicable, Rule 8(b) of the

Rules Governing Section 2254 Cases.           Upon review of the entire

record, the court has determined that this matter can be disposed

of without an evidentiary hearing.           For the reasons set forth

below, it is recommended that the instant petition be DISMISSED

WITHOUT PREJUDICE due to petitioner’s failure to exhaust his

state court remedies.
I.       PROCEDURAL HISTORY

         Petitioner, Charles Ficher,1 is a state prisoner who is


   In connection with his state direct appeal proceedings,
     1

petitioner’s last named is spelled “Fisher”. However, in
connection with most of petitioner’s state post-conviction
proceedings, his last name is spelled “Ficher”. In connection
with the instant habeas action, petitioner uses “Fisher” as the
spelling of his last name in only one pleading (rec. doc. 11).
In all other federal pleadings, petitioner has used “Ficher” for
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currently incarcerated at the Louisiana State Penitentiary in

Angola, Louisiana.    On October 26, 1993, petitioner was convicted

of second degree murder after trial, by jury, in the Criminal

District Court for the Parish of Orleans, State of Louisiana.          On

November 9, 1993, petitioner was sentenced to life imprisonment

at hard labor without benefit of parole, probation, or suspension

of sentence.   On January 19, 1995, petitioner’s conviction and

sentence were affirmed by the Louisiana Fourth Circuit Court of

Appeal.   State v. Fisher, No. 94-KA-0191, 648 So.2d 52 (La. App.

4 Cir. 1995) (table).2    On June 16, 1995, petitioner’s writ

application was denied by the Louisiana Supreme Court.          State v.

Ficher, 655 So.2d 341 (La. 1995).       Petitioner’s conviction became

final ninety days later, on September 15, 1995, when the ninety-

day period for seeking a writ of certiorari from the U.S. Supreme

Court expired and no application therefor was made.         See U.S.

Sup. Ct. R. 13(1); see also Ott v. Johnson, 192 F.3d 510, 513

(5th Cir. 1999), cert. denied, 529 U.S. 1099, 120 S.Ct. 1834, 146

L.Ed.2d 777 (2000) (citing 28 U.S.C. §2244(d)(1)(A)), and Roberts

v. Cockrell, 319 F.3d 690, 694 (5th Cir. 2003).

      On October 22, 1996, petitioner filed an application for




his last name. As such, “Ficher” is the spelling which this
court shall employ.
  2
   A copy of the state appellate court’s unpublished opinion is
contained in the State rec., vol. 1 of 2.

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state post-conviction relief,3 arguing that counsel was

ineffective due to his failure to present certain witnesses at

trial and failure to request a particular jury instruction.4             On

or about May 28, 2003, petitioner, having failed to receive a

ruling from the state district court with respect to his post-

conviction application, filed a writ of mandamus with the

Louisiana Fourth Circuit Court of Appeal, seeking to have the

state appellate court order the state district court to

adjudicate his pending post-conviction application.5           On June 23,

2003, the state appellate court issued a decision wherein, “[i]n

the interest of judicial economy,” the court considered the

merits of petitioner’s pending post-conviction application and

determined that petitioner was “not entitled to relief.”

Further, in light of its adjudication on the merits of

petitioner’s post-conviction application, the Louisiana Fourth

Circuit denied petitioner’s request for a writ of mandamus as

moot.    State v. Ficher (Fisher), No. 2003-K-0964 (La. App. 4 Cir.



  3
   In his federal habeas corpus application (rec. doc. 3),
petitioner represents that he filed his application for post-
conviction relief on June 16, 1998. However, in a later pleading
(rec. doc. 5), petitioner explained that the June 16, 1998 date
was incorrect, that he actually filed his petition in October,
1996. This fact is verified by a copy of an affidavit, attached
to petitioner’s post-conviction application, reflecting that he
swore to the veracity of the contents of his post-conviction
application on October 22, 1996.
  4
   A copy of petitioner’s post-conviction application is
contained in the State rec., vol. 2 of 2.
  5
   A copy of petitioner’s May, 2003 mandamus application is
contained in the State rec., vol. 2 of 2.

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2003) (unpublished decision).6     In connection with the state

appellate court’s June 23, 2003 denial of post-conviction relief,

petitioner filed a writ application with the Louisiana Supreme

Court.   On August 20, 2004, the state high court denied

petitioner’s writ application.      State ex rel. Ficher v. State,

No. 2003-KH-2071, 882 So.2d 564 (La. 2004).

      In September, 2004, petitioner filed with the Louisiana

Fourth Circuit Court of Appeal a second application for writ of

mandamus, again complaining that the state district court had

failed to issue a ruling on his post-conviction claim that

counsel was ineffective for failing to present certain witnesses

to testify at trial and failing to request a limiting jury

instruction.7   On September 27, 2004, the Louisiana Fourth

Circuit, noting that petitioner, pursuant to his second writ of

mandamus, was seeking relief in connection with the same post-

conviction application which the court had earlier rejected,

denied petitioner’s writ application “as repetitive”.          State v.

Ficher, No. 2004-K-1587 (La. App. 4 Cir. 2004) (unpublished

decision).8   On August 19, 2005, the Louisiana Supreme Court


  6
   A copy of the Louisiana Fourth Circuit’s unpublished decision
is contained in the State rec., vol. 2 of 2.
  7
   A copy of petitioner’s second writ of mandamus is contained in
the State rec., vol. 2 of 2.
  8
   A copy of the state appellate court’s September 27, 2004
unpublished decision is contained in the State rec., vol. 2 of 2.
In its decision, the state appellate court refers to petitioner’s
post-conviction application as having been “filed in June of
1998" since petitioner, in his second application for writ of
mandamus, represents: “On June 16, 1998, Petitioner filed a

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rejected petitioner’s writ application, providing: “Denied.

Moot.    The court of Appeal has acted.”       State ex rel. Ficher v.

State, No. 2004-KH-2820, 908 So.2d 663 (La. 2005).

        On October 6, 2005, petitioner filed the instant federal

habeas corpus action (rec. doc. 3).         In its Response (rec. doc.

10), the State argues that the instant petition is subject to

dismissal on the basis of untimeliness and because petitioner,

with respect to two of his habeas claims, has failed to exhaust

his remedies as required under Rose v. Lundy, 455 U.S. 509, 102

S. Ct. 1198, 71 L. Ed. 2d 379 (1982).         For the reasons set forth

below, the court finds that the instant action was timely filed,

but is nevertheless subject to dismissal due to petitioner’s

failure to exhaust his state court remedies.




II.     ANALYSIS

        A.   Timeliness

        The Antiterrorism and Effective Death Penalty Act of 1996

(“AEDPA”), as codified at §2244(d), generally provides that

prisoners like petitioner must file their habeas petitions within




timely application for post conviction relief in the Criminal
District Court....” In actuality, petitioner filed his first,
and only, application for post-conviction relief with the state
district court in October, 1996. Additionally, in its September
27, 2004 unpublished decision, the state appellate court
mistakenly refers to its first decision denying petitioner post-
conviction relief as No. 2003-K-0364, but the correct number is
2003-K-0964.

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one year of the date that their convictions become final.9                In

this case, petitioner’s conviction became final on September 15,

1995, ninety days following the Louisiana Supreme Court’s June

16, 1995 denial of relief in connection with his direct appeal.

Thus, petitioner had a year from September 15, 1995, or until

September 15, 1996, to timely seek federal habeas corpus relief.

     However, the United States Fifth Circuit has held that, for

a prisoner such as Ficher, whose conviction became final prior to

the AEDPA’s effective date of April 24, 1996, a one-year grace

period, from April 24, 1996 until April 24, 1997, must be allowed

during which a petitioner could timely file a federal habeas

challenge.      Flanagan v. Johnson, 154 F.3d 196, 201-02 (5th Cir.



     9
      28 U.S.C. §2244(d) provides, in pertinent part:
     (1) A 1-year period of limitation shall apply to an
     application for a writ of habeas corpus by a person in
     custody pursuant to the judgment of a State court. The
     limitation period shall run from the latest of -
          (A) the date on which the judgment became final by
               the conclusion of direct review or the
               expiration of the time for seeking such
               review;
          (B) the date on which the impediment to filing an
               application created by State action in
               violation of the Constitution or laws of the
               United States is removed, if the applicant was
               prevented from filing by such State action;
          (C) the date on which the constitutional right
               asserted was initially recognized by the
               Supreme Court, if the right has been newly
               recognized by the Supreme Court and made
               retroactively    applicable   to    cases   on
               collateral review; or
          (D) the date on which the factual predicate of the
               claim or claims presented could have been
               discovered through the exercise of due
               diligence.


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1998).     Accordingly, petitioner had until April 24, 1997, to

timely seek federal habeas corpus relief.

        Petitioner did not file the instant action until October 6,

2005, over eight years after his limitation period expired.

Thus, petitioner’s federal habeas corpus application must be

dismissed as untimely, unless the one-year statute of limitations

period was interrupted as set forth in 28 U.S.C. §2244(d)(2).

Under that statutory provision, "[t]he time during which a

properly filed application for State post-conviction or other

collateral review with respect to the pertinent judgment or claim

is pending shall not be counted toward any period of limitation

under this subsection."

        The State bases its claim, that the instant action is

untimely, on petitioner’s representation, as set forth in his

habeas application (rec. doc. 3), that he did not seek state
post-conviction relief, thereby interrupting prescription, “until

June 16, 1998, nearly 14 months after the deadline for filing a

federal habeas petition.”10       However, as noted above, June 16,

1998 is not the date on which petitioner first sought post-

conviction relief.       Instead, the correct date is October 22,

1996.11
        Employing October 22, 1996 as the date when petitioner, by

virtue of filing a post-conviction application, tolled


   See rec. doc. 10, State’s Response at p. 3 (footnote
  10

omitted).
  11
       See discussion supra at p. 3.

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prescription, only 178 days of petitioner’s 365-day prescriptive
period expired.     Thereafter, petitioner allowed much less than

his 187 remaining days to expire before filing the instant

federal habeas action.12      Accordingly, petitioner’s application

for habeas corpus relief is not time-barred.
       B.   Exhaustion

       It is well-established that a petitioner must exhaust his

available state court remedies before proceeding to federal court

for habeas relief.       28 U.S.C. §2254 (b)(1)-(3); Rose v. Lundy,

455 U.S. 509, 102 S. Ct. 1198, 71 L. Ed. 2d 379 (1982).

Generally, the exhaustion requirement is satisfied only when the

grounds urged in a federal petition were previously presented to

the state's highest court in a procedurally proper manner.              Dupuy

v. Butler, 837 F. 2d 699, 702 (5th Cir. 1988).

       In the instant action, petitioner raises the following


   Generally, a writ of mandamus, like a motion for a
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transcript, is considered to be preliminary in nature and,
therefore, insufficient for purposes of interrupting
prescription. See Boyd v. Ward, 2001 WL 533221, *4 (E.D. La.
2001) ("Although Boyd had, in the interim, litigated his
entitlement to a free copy of his guilty plea and sentencing
transcript through the state court system, the Court does not
believe that those proceedings qualify as ‘...application[s] for
State post-conviction or other collateral review...’ so as to
toll the limitation period under §2244(d)(2) because they were
preliminary in nature and did not directly call into question the
validity of Boyd's conviction or sentences.") See also Brisbon
v. Cain, No. 99- 3078, 2000 WL 45872, *2 (E.D. La. Jan. 18,
2000). However, in this case, petitioner’s substantive post-
conviction claim of ineffective assistance of counsel, which
directly challenged the validity of his conviction, was raised
before and ruled upon by the Louisiana Fourth Circuit and
Louisiana Supreme Court by virtue of petitioner’s writs of
mandamus. Accordingly, the court finds that petitioner’s writs
of mandamus did, in fact, toll prescription.

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claims:     1) He was denied a fair trial due to prosecutorial

misconduct; 2) His conviction was based on insufficient evidence;

3) He received ineffective assistance of counsel based upon

counsel’s failure to present witnesses on his behalf and failure

to have the district judge provide a “limiting instruction” to

jurors regarding the proper use of prior inconsistent statements;

and, 4) The grand jury indictment issued against him was

unconstitutionally obtained.

        With respect to claim 2), insufficiency of evidence, the

State admits that petitioner has exhausted his state court

remedies.     Petitioner raised claim 2) in connection with his

direct appeal and took the issue to the Louisiana Supreme Court

via writ application No. 95-KO-0476.

        Similarly, the State admits that petitioner has exhausted

his state court remedies with regard to claim 3), ineffective
assistance of counsel.        Petitioner raised claim 3) in connection

with his post-conviction application and took the issue to the

Louisiana Supreme Court via writ application No. 2003-KH-2071.

        With respect to claim 1), prosecutorial misconduct,

petitioner originally raised said claim in connection with his

direct appeal.      However, the Louisiana Fourth Circuit Court of

Appeal specifically declined “to consider this issue on appeal”,

advising that “[d]efendant may raise his claim in an application

for post-conviction relief.”13         Petitioner admits, and a review



  13
       See State rec., vol. 1 of 2, Fisher, No. 94-KA-0191 at p. 4.

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of the pertinent record confirms, that despite the appellate

court’s directive, petitioner’s “claim of prosecutorial

misconduct” was not presented in his “application for post

conviction relief”.14       As such, petitioner has clearly failed to

exhaust his state court remedies with respect to claim 1).

        With regard to claim 4), an unconstitutionally empaneled

grand jury, the State provides that the claim appears to be

“raised for the first time in the instant petition.”15

Petitioner, however, states that the claim was submitted in a

“supplemental brief” for post-conviction relief which he had

submitted “[b]y the time the second petition for mandamus was

filed”.16
        This court’s review of the pertinent record has uncovered no

supplemental brief for post-conviction relief nor has petitioner

provided the court with such a brief.           Further, a review of the

pleadings petitioner filed with the Louisiana Fourth Circuit and

the Louisiana Supreme Court in connection with his second

petition for writ of mandamus make no mention of any claim that

the grand jury which indicted him was unconstitutionally

empaneled.      Specifically, the “Application for Writ of Mandamus”,

No. 2004-K-1587, which petitioner filed with the Louisiana Fourth



   See rec. doc. 11, petitioner’s “Traverse to Respondent’s
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Brief” at p. 1.
  15
       See rec. doc. 10, State’s Response at p. 4.

   See rec. doc. 11, petitioner’s “Traverse to Respondent’s
  16

Brief” at p. 2.

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Circuit in September, 2004, makes reference only to petitioner’s

claim that counsel was ineffective by virtue of his failure to

present witnesses on petitioner’s behalf and his failure to have

the judge give a limiting instruction to jurors regarding the

proper use of prior inconsistent statements.17         Similarly,

petitioner’s “Application for Writ of Mandamus”, No. 04-KH-2820,

which petitioner filed with the Louisiana Supreme Court in

October, 2004, contains no reference to a post-conviction claim

regarding an unconstitutionally empaneled grand jury.           Instead,

petitioner’s second application to the Louisiana Supreme Court

for a writ of mandamus is limited to his ineffective assistance

of counsel claim.18
       Finally, in support of his assertion that he has exhausted

his state court remedies, petitioner states that he presented his

“claim of an invalid indictment” to “the courts of appeal of the

state in docket numbers 2003-KH-2071 and 2004-KH-2820.”19

However, as set forth above, in docket number 2004-KH-2820,

petitioner’s second writ of mandamus application to the Louisiana

Supreme Court, no mention is made of any challenge to the

veracity of petitioner’s indictment.        Similarly, in docket number

2003-KH-2071, petitioner’s first writ of mandamus application to


   See State rec., vol. 2 of 2, petitioner’s writ application in
  17

2004-K-1587 at p. 1.

   See State rec., vol. 2 of 2, petitioner’s writ application in
  18

2004-KH-2820 at p. 1.

   See rec. doc. 11, petitioner’s “Traverse to Respondent’s
  19

Brief” at p. 2.

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the Louisiana Supreme Court, the only post-conviction claim to

which petitioner refers is his ineffective assistance of counsel

claim.20

       In a situation such as this, where a petitioner presents a

“mixed” habeas corpus petition, i.e., one containing both

exhausted and unexhausted claims, the requirement, under Lundy,

supra, that all habeas claims be fully exhausted, coupled with

the one-year statute of limitations imposed under Section

2244(d)(1) of the AEDPA, can cause prescription problems.            Such a

problem arose in Rhines v. Weber, 544 U.S. 269, 275, 125 S.Ct.
1528, 1533, 161 L.Ed.2d 440 (2005), wherein the Supreme Court

observed:

       As a result of the interplay between AEDPA's 1-year
       statute of limitations and Lundy's dismissal
       requirement, petitioners who come to federal court with
       “mixed” petitions run the risk of forever losing their
       opportunity for any federal review of their unexhausted
       claims. If a petitioner files a timely but mixed
       petition in federal district court, and the district
       court dismisses it under Lundy after the limitations
       period has expired, this will likely mean the
       termination of any federal review.

While an obvious remedy to the above-described problem is for a

federal court to stay a petitioner’s habeas action until he

exhausts his state court remedies, the Court warned against the

wholesale embrace of such an approach, noting that the dual

purpose of the AEDPA, enacted “against a backdrop of Lundy’s
total exhaustion requirement”, is reducing the potential for


   See State rec., vol. 2 of 2, petitioner’s writ application in
  20

2003-KH-2071 at p. 1.

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delay in finalizing state court judgments and encouraging

litigants to bring all their claims to state court before

bringing them to federal court.      Rhines, 544 U.S. at 276-77, 125

S.Ct. at 1534.   The Court warned that staying federal habeas

corpus petitions and holding them in abeyance, “if employed too

frequently, has the potential to undermine [the above-described]

twin purposes”, explaining:

     Staying a federal habeas petition frustrates AEDPA's
     objective of encouraging finality by allowing a
     petitioner to delay the resolution of the federal
     proceedings. It also undermines AEDPA's goal of
     streamlining federal habeas proceedings by decreasing a
     petitioner's incentive to exhaust all his claims in
     state court prior to filing his federal petition.

Rhines, 544 U.S. at 277, 125 S.Ct. at 1534.        With this in mind,

the Court decreed:

     [S]tay and abeyance should be available only in limited
     circumstances. Because granting a stay effectively
     excuses a petitioner's failure to present his claims
     first to the state courts, stay and abeyance is only
     appropriate when the district court determines there
     was good cause for the petitioner's failure to exhaust
     his claims first in state court. [Emphasis added.]

Rhines, 544 U.S. at 277, 125 S.Ct. at 1535.

     Having reviewed the pertinent pleadings and state court

record, the court finds no good cause excusing petitioner’s

failure to exhaust his state court remedies.

     Accordingly;

                     RECOMMENDATION

     It is hereby RECOMMENDED that the petition of Charles Ficher

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for issuance of a writ of habeas corpus under 28 U.S.C. §2254 be

DISMISSED without prejudice for failure to exhaust state court

remedies.

     A party's failure to file written objections to the proposed

findings, conclusions, and recommendation in a magistrate judge's

report and recommendation within 10 days after being served with

a copy shall bar that party, except upon grounds of plain error,

from attacking on appeal the unobjected-to proposed factual

findings and legal conclusions accepted by the district court,

provided that the party has been served with notice that such

consequences will result from a failure to object.         Douglass v.

United Services Auto. Ass'n, 79 F. 3d 1415, 1430 (5th Cir.

1996)(en banc).
                     Hello This is a Test
     New Orleans, Louisiana, this 17th day of        October , 2008.




                                   ALMA L. CHASEZ
                                   United States Magistrate Judge




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